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i§Z?.§/TPK/kas A'£toi‘ney ID #6275284
10-24-1 l

IN THE UNITED S'I`A'I"HS DISTRICT COURT
NORTHERN DISTRECT OF ILL`§N()IS EASTERN DIVISION

DARYL KIRK'I,AN[) and IUDY )
KIRKI,,AND, )
Plaiulil`i"$, )

)
V. ) Cusc No. l E-ev~()'/ZSS
)

STF;VEN SIGALOVE, M.D. and DUPAGE )
M_EDICA_L GROUP, LTD., lndividuaily and )
d/b/a 'I`HIL` INSTITUTE FOR AES'[`I'IE"I`lC )
SURGERY, 21 Corporation, )
)
)

I)c'!`endants.

 

SEC(}ND AM`ENDED COMPLAINT AT LAW

NC)W comes the Piaiinii[{;`s;, Z)ARYL KIRKLAND and j`UDY K]RKLAND, by their
attorn_eys, ANI`§SI, OZMON., RODIN, NOVAK & KOHEN, L'I"I)., and eomplaining of the
Def`cn.dams, S'I`E\/EN SIGALOVE, M.I). and DUPAGE M`E`-`§DICAL GROUP, _`I_.T_D.,
individually and d/b/a THE INSTI'§`U'I`E FOR AES'I`HETIC SURGERY, a Corporation., alleges
as fOHOWS:

JUR.ISDICTION AN'!) VEN¥JE

i. Plaintifi`$, DARYL _KIRKLAND and }UDY KIRKLAND, are residents of British
Columbia, Canada and Citizens of Canada.

2. Defendaiit, STEVE§N SIGALOVE, M.D. is a citizen of illinois.

3. Defendzm£, DUPAGE MEDICAL GROUP, LTD., individually and d/b/a THE
lNS'l`I'l`UTE FOR AI:`£STHFTIC SURG}F,`RY, a C¢;)i'poraitier; is incorporated in lilinois With its

headquarters and principal place el` business in Iliinois_

 

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4. Tiiat this court has jurisdiction over tl'iis action pursuant to 28 U.S.C. Section
1332 as there is cornpiete diversity ot` citizenship between Plaintifi`s and Defendants and the
amount in controversy exceeds 3375,000.00 exclusive of interest and costs

5_ Venne is proper in the Nortiiern District ol` Iliinois pursuant to 28 U.S.C. Section
l39l as Dei`endants reside and a substantial pan of`the events occurred Within this district

COUNT l

l_ rl`liat on ()ct.ol)er 30, 2009, the i)ei`cndant, Steven Sigalove, l\/I‘D. Was a duly
licensed and practicing Plastic Surgeon in the State of illinois holding himself out as beingD
trained and skilled in the medical profession; and said Defendant Was engaged in the practice of
that profession in tile Vil.!agc of Lornbard, County of" I)ul’age, and State oi` lllinois, and further
held himself out as the agent or apparent agent ofj` Dullage i\/ledical Group, lndividually and
d/‘o/a "i.`he lnstitute l"or Aestiietic Surgery.

2. 'l`hat on the aforementioned datc_, the l')et`endant, Steven Sigalove, M.D., Was
retained and employed as the i"laintif"f`s l’lastic Snrgeon i`or the purpose ot` treatment in
conjunction With suetion~assisted lipcctorny oi` tire abdomen_, flanl<;s, and lower back for Wliieh
lie was then and there seekingj which required medical and/or surgical treatment and the said
l)et`endant accepted such employment and thereafter rendered medical treatment to the Plai_ntii`f
for a pecuniary consideration

3. '_i"hat at the time o_t, and during the course oi` the aforementioned treatment, the
Dci`endant, Steven Sigaloye_, M.D., did not possess andjor exercise that degree of skiil and care
that ordinarily well-qualified l)_lastic Surgeons possess and exercise under similar circumstances
in the aforementioned locality or similar localities in Wiiicli the aforementioned treatment Was

rendered in that Det`endant:

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(a) llailed to protect and/or guard against lllaintiff" s colon
being perforated

(i)) Failed to recognize the harm caused by Pla.iiitiff s colon
being perforated

(c) liailed to properly respond to the h.arrn. created by the
surgical misadventurc.

(d.) Failed to properly advise and/or Warn the l’laintiff of the
risks associated vvith the procedure or the type or degree of

surgical misadventure.

(e) l~`ailed to appropriately follow up with the patient after the
procedure

(f) Failed to diagnose the colon perforation present on Oetoher
30: 2009, vvhich Would have permitted intervention to
prevent injury.

4. That as a direct and proximate result of one or more of the aforesaid negligent
acts and/or omissions of the [)efendant, the Plaintii`l` suffered a perforated colon due to the failure
to protect and/or guard against this occurrence

5. "l`hat as a direct and proximate resuit of one or more of the aforesaid careiess and
negligent acts and/or omissions of the Defendant, the Plaintil"f then and there sustained severe
and permanent injuries and Was, and Will he, hindered and prevented from attending to his usual
duties and affairs of iife, and has lost, and vvill iese, the value of that time as aforementioned
Further, Plaintiff has expended large surns of rnoney endeavoring to be cured and healed of said
injuries and Will in the fu_ture, incur additional sums of money endeavoring to be cured Of Said
injuries Further, Plaintiff also suffered and will, in the future, suffer great pain and anguish
from said injuries

6_ That attached hereto and made a part hereof in conformance Wit'h 735 il.JCS 5/2-

622 are both an Al`lidavit of Counsel (See EXh_ihit “A”} and an Al:lidzivit from a llealth Carc

Professional (Sec Exhihit ""B”)_

L)J

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Wl--lF,REl*`ORE, the Plaintif'f, DARYL KiRKl,AND, demands judgment against the
De;fen<;lantk STl§\/EN SlGA.lpO\/E, M.D., in a dollar amount to satisfy the jurisdictional
limitation of this Court and such additional amounts as the jury and the Couit shall deem proper,
and additionally1 costs of said suit.

C()UNT ll

l. 'fhat on and prior to UCtober 30, 2009, the Piaintiff vvas the lawfully vvedded Wife
of DARYL KIRKLAND.

2-4. Plaintit`f repeats and realleges, and incorporates by reference, Paragraphs One (l)
through Three (3) of Count l as Paragraphs Vl"vvo (2) through Four (fl) of Count l_l, as if ftu set
forth h_erei n..

5. That as a direct and proximate result of the aforesaid careless and negligent acts
andfor omissions of the Defendant, STEVEN SEGALOVE, l\/l.f)., the Plaintifl"s husband then
and there sustained severe and permanent injuries; both externaliy and internally, and vvas, and
will be, hindered and prevented from attending to his usual duties and affairs

6. fhat as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant7 Sfl`EVl%`.N SlG/-\lit)`\/’l£j l\/l.l]., the Plai.ntiff has been deprived,
and is reasonably certain to he deprived in the future, of the society, companionship and conjugal
relationship With her husband

7. rfhat attached hereto and made a part hereof in conformance With 735 iliCS 5/2-
622 are both an Affidavit of Counsel (See Exhihit “/\“) and an Affidavit from a Heaith Care
Professional (See Exhibit "B”.)

WI-ll§Rl;`lr`ORF;: the Plaintiff, .ll_lD`Y KlRKLAND, demands judgment against the
Defen_dant, S"l_`EVEN SIGALOVH, l\/l.l_).,__ in a dollar amount to satisfy the jurisdictional
limitation of this Couit and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.

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C()UNT `Hl
l_ That on Octobcr 3(}, 2009, and prior thereto, the Det`endant, DUPAGE §.\/IEDICAL

GR.OUP, LTD., lndividually and dib/a THE ll\lSTl'l"U)l"ll§ I"()R AEZSTHETIC SURGERY, a
Corporation, Was a duly constituted professional medical corporation, in the State of lllinois,
Which, by and through its agents, servants and em_ployccs, treated persons suffering from various
ailments and provided medical services for the needs ot` patients under the care and treatment of
said medical corporation

2. That on and prior to the aforementioned date, the Defendant, DUPAGE
l\/llEDlCi/\L GROUP, L'l`[)., lndividnally and d/b/a THE INSTITUT.E FOR AESTHE'}`{C
SURGERY, a Corporation, through its agents, servants and cmployees, accepted the Plaintitt"` as
a patient and agreed to render competent and adeqnate medical services in conjunction with a
surgical procedure and said l)e't`endant, through its agents servants and employees1 undertook to
render care_, diagnosis, treatment and services for pecuniary consideration

3. "I"l_iat at all times mentioned herein._ the Defendant, DUPAGE l\/l:l§"§`l`)[C/\l,,
GROUP, LTD., lndividually and d/b/a T.l~lE l`l\lS”l`l"l`"U'l`l§ l"OR AESTHETIC SURGERY, a
Corporation, through its agents, servants and em_ployees, Was guilty ol" one or more of the
following careless and negligent acts and/or omissions

(a) Failed to protect and/or guard against Plaintit`i"s colon
being perforated

(b} Failed to recognize the harm caused by `Plaintit`t"s colon
being perforated

(c) Failed to properly respond to the liarrn created by the
surgical misadventure.

(_d} llailed to properly advise andfor Warn the l’laintit`f of the
risks associated with the procedure or tlic type or degree ot`
surgical misadventure.

(e) l`~`ailcd to appropriately follow up Witti the patient after the
procedure

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(t) Failed to diagnose the colon perforation present on October
30, 2009, vvhich Would have permitted intervention to
prevent inj ury_

4. 'l`hat as a direct and proximate result of one or more of the aforesaid negligent
acts and/or omissions of the Defendant, DUPAGE l\/ilEl)lCA_L GR(`)UP, LTD._, individually and
d/b/a 'i_`_l'i.E INSTITUTE F()R AES'I`.IW[E'I`*IC SURGERY, a Corporation, by and through its
agents, servants and employees the Plainti ff suffered a perforated colon due to the failure to
protect and/or guard against this occurrence

5. rl`hat as a direct and proximate result of one or more of the aforesaid careless and
negligent acts and/or omissions of the Defend.ant, DUP/\GE l\/llEl)lC/\L GROUP, L”I`D.,
individually and dr’l)/a 'fi-iE ll\iSTl'!"U'l`l,§ liGR Al_jS'l`.l:lt_§rl`lC SURGIL€RY, a Corporation, by and
through its agents, servants and ern_ployees, the Plaintiff then and there sustained severe and
permanent injuries and vvas, and vvili be, hindered and prevented front attending to his usual
duties and affairs of iife, and has lost and Will lose, the value of that time as aforementioned
liurthcr_, Plaintii`l"` has expended large sums of money endeavoring to be cured and heated of said
injuries and vvill, in the future, incur additional sums of money endeavoring to be cured of said
injuries

6. ll`hat attached hereto and made a part hereof in conformance With ?35 llJCS 5/2-
622 are both an Affidavit of Counsel (See Exhibit “A`”) and an Afl'idai-'it from a Health Care
l’roil"essional (Scc Exhihit “B"")_

WH`EREPORE, the l’laintifl`, DARYL KlRKliAND: demands judgment against the
Defendant, DUPA.GE MEDlCAL GROUP, ljf[)., individually and d/b!a THE I'NS'l`l'l`Uii`E li`OR
AIISTI ll}LTlC SURGERY, a Corporation, in a dollar amount to satisfy the jurisdictional

limitation of this Court and such additional amounts as the jury and the Court shal! deem proper,

and additionaliy, costs of said suit.

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COUNT lV

l fhat on and prior to October 30, 2(}09, the Plaintiffvvas the lawfully Wedded wife
of D/-\RYL KERKLAND.

2~4_ Plaintiff repeats and realleges, and incorporates by reference, Paragraphs Onc (l)
through Three (3) of Count ill as l’aragraphs 'l`vvo (2) through Four (4) of Count lV, as if fully
set forth herein

5. rf hat as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant, DUPAGE l\/IEDICAL GROUP, LTl)., lndivi_duall.y and d/b/a
rl`l~ll§ ll\lS“l"l'fUTl§ l"OR AESTHETlC SURGERY, a Corporation, the Plaintiff`s husband then
and there sustained severe and permanent injuries, both externally and intemally, and vvas, and
vvill be, hindered and prevented from attending to his usual duties and affairs

6. 'fhat as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Dcfendant, DUPAGE l\/lEDlCAL GROUP, L'l`D., lndividually and d/b/a
'l`l"lli lNSTl’fU"i`E FOR AES'fl-lETlC SURGl§/RY, a Coiporation, the Plaintiff has been
deprived, and is reasonably certain to be deprived in the future, of the society, companionship
and conjugal relationship vvith her husband

7. That attached hereto and made a part hereof in conformance vvith 735 H.iCS 5/2»
622 are both an Affidavit of Counsel (See EXhibit “A"') and an A_ffidavit from a Healt_h Carc
Professional (See Exhibit “B"’).

Wi-lEREFORE, the Plainti_ff, JUDY KlRKliAl\lD, demands judgment against the
Defendant, DUPAG{€ lvljl;`il`)lC/-\L GROUP, l,,"l`f).; individually and d/b/a 'l`HE fNSTl'l"UTE FOR
AES'fl-IETiC SURGERY, a C,`orporat.ionj in a dollar amount to satisfy the jurisdictional
limitation of this Court and such additional amounts as the jury and the Court shall deem proper,
and additionally, costs ofsaid sui't.

COUNT V - INF()RMED C()NSENT
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Now comes the l)laintifl`s., DARYL KI.RKLAND and JUUY KIRKLAND, by their
attorneys ANESI, OZMON, RODI.N, NOVAK & KOHEN, l,'Fl)., and complaining of the
Det`endants, S'l`l`§\/EN SlGALO\/E, l\/l.l). and DUPAGE l\/iEl).lCAL GROUP, liTD.,
lndividnally and d/b/a THE lNSTITU'TlE l"OR AESTHIS'HC SURGE`RY, a Corporat'ion, allege
as tollows:

l. Plaintit"l` repeats and reallegcs, and incorporates by reference as it` fully set forth
lierein, .Paragraphs One (_l) and rl`\)vo (2) ol` C.ount l as paragraphs One (l) and TWo (2) ot` Connt
V.

3. Tliat at the time ot", and during the course ot` the aforementioned treatment, the
l)et`endant: STF,VEN Sl(lAl,i(.)\/_l§, l\/l.l)., Wliile acting as agent, servant, representative and/or
employee of DllP/\(ll;§ MEDICAL GROUP, l_,l`l)_, individually and d/b/a 'l`l'lE lNS'l"l'l`U'l`E
i"OR Al§S'l_"Hl§'l`lC SURGF,RY, a Corporation, did not possess and/or exercise that degree o'l"
know'lcdge, skill and care used by reasonably careful plastic surgeons or possessed and exercised
by ordinary Well-quaiilied plastic Sur_geons under similar Circun‘lstanees in the aforementioned
locality or similar localities in Which the alorernentioned treatment Was rendered in that the
Dct`endant, STl-`:V]El\l SlGALO\/'E, i\/I.D., acting as agent, servant, representative, and/or
employee ol` DUPAGl;` MEDICAL GROUP, Lli`l.)., lndividnally and d/b/a "1"}1_{?`, i`NSTlTUl`lE
FOR AEST.I'lETlC SURGERY, a Corporation, violated the standard oi` care Wlien he:

(a) liailed to properly advise and counsel the Plaintit`l` so he could make a proper

and informed choice as to Whetlier or not he should undergo the lipeetorriy

procedure_;
(b) lmproperly informed the l)laintill ol" any risk to the colon from the lipectorny
procedure thereby depriving the Plaintit`t ot"the opportunity to make a proper

and informed choice as to Whether or not he should undergo the lipectomy

ro c . - ,
p c‘dure;and/or_;

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(c) lmproperly informed the Plaintiff prior to the lipectomy procedure that there Was
no risk of injury to Pl_aintifl"s colon from the procedure._ despite Defendant’s
belief and/or understanding that such injury to the colon Was a potential risk of
the lipectomy surgery thereby depriving the Plaintiff of the opportunity to make a
proper and informed choice as to Whether or not he should undergo the lipectomy
procedure

6. That as a direct and proximate result of the aforesaid careless and negligent acts

and/or omissions of the Defendant, STEVl_`il\l Sch¢"ilsO‘\/E_1 l\/l.D., as agent, servant,
rcpresentative7 or employee of the Defendant, DUPAGE l\/llEDl_CAL GROU l’, lfl`D.,
individually and d/b/a Tl'll§ lNSTlTU'_liE FOR AliS'l`l'lETlC SURGE_RY, a Corporation, then
and there sustained severe and permanent injuries to his colon, resulting in conscious pain and
suffering, and Was hindered and prevented from attending to his usual duties and affairs and lost
the value of that time as aforementioned "l`he Plaintiffs further expended large sums of money
endeavoring to be cured of said injuries and vvill in the future, incur additional sums of money
endeavoring to be cured of said injuries The l`)laintiffs suffered and will, in the future, suffer
great pain and anguish from said injuries

WHEREFORE, the Plaintiffs, DARYL Kll{_l.<ll.rAl\lD and JUDY KIRKLAND, demand

judgment against the Defendant, STEVEN SlGAl,{)"V l;i, h/l.l). and _DU_PAGE M_E[)lCAL
GROUP, L'I`D., lndividually and d/b/a Tl"iE INSTITUVl`l-'i l*"OR Al}iS'l`Hli'l`lC SURGERY, a
Corporation, in a dollar amount to satisfy the jurisdictional limitation of this Court and such
additional amounts as the jury and the Court shall deem proper, and additionally, costs of said
suit.

cum

l 'fhat on and prior to October 30, 2009_, the Plaintift`was the lawfully Wedded Wife

of D_/\RY[. KlRKl,/\ND.
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2-6. Plaintiff repeats and realleges, and incorporates by referen.ce, Paragraphs One (l)
through Five (5) of Count V as Paragraphs Two {2) through Six (6)of Count Vl, as if fully set
forth herein.

7. That as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant, DU`PAGE MH.Dl.CAL GROUP, ljl`l)., individually and d/'l:»/a
THE l'NSrl`lTUTE FGR Al-'iS'l`HE-'L`LC SURGER‘\(3 a Corporation, the Plaintiffs husband then
and there sustained severe and permanent injuries, both externally and internally, and Was, and
Will he, hindered and prevented from attending to his usual duties and affairs

8. 'i`hat as a direct and proximate result of the aforesaid careless and negligent acts
andfor omissions of the Defendant, DUPAGE l\/lEi)lCAL GROUR lfl"D., individually and d/h/'a
’l`H_l;` INSTITUTE FOR AESrl_`HlE'l`lC SURGERY, a Corporalion_, the Plaintiff has been
deprived, and is reasonably certain to he deprived in the ftitnre, of the society, companionship

and conjugal relationship With her husband

/s/ Steven A, i%errnan
Attorneys for Plaintiff(s)

Steven A. Berinan

Brian `D. Teven

ANESI., ()ZMON, RODIN, NOVAK & KOHEN, LT`D.
l6l North Clarl< Strect - 21st Floor

Chicago, il, 606{)1

312/372-3822

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